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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
United States of America,
Plaintiff, Civil No. 19-cr-20026
Vs. | Hon. Gershwin A. Drain

D-3 Phanideep Karnati,

Defendant.

 

DECLARATION OF PUBLICATION

 

In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of
the Federal Rules of Criminal Procedure, notice of the forfeiture was

posted on an official government internet site (www.forfeiture.gov) for

 

at least 30 consecutive days, beginning on December 11, 2019 and
ending on January 9, 2020, as required by Rule G(4)(a)Gv)(C) of the
Supplemental Rules for Admiralty or Maritime Claims and Asset
| Forfeiture Actions, as evidenced by Attachment 1.
I declare under penalty of perjury that the foregoing is true and

correct. Executed on February I , 2020 a etrol

 

 

Gjon Jyincaj \
Assistant United States’Attorney
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Attachment 1

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION
COURT CASE NUMBER: 19-CR-20026; NOTICE OF FORFEITURE

Notice is hereby given that on December 06, 2019, in the case of U.S. v. D-3
Phanideep Karnati, Court Case Number 19-CR-20026, the United States District Court for
the Eastern District of Michigan entered an Order condemning and forfeiting the following
property to the United States of America:

$11,700.00 in Lieu of Real Property located at 10808 yng Pr Circle, Louisville,
KY 40241 Acct# 083000108 (19-ICE-000916)

The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (December 11, 2019) of
this Notice on this official government internet web site, pursuant to Rule 32.2 of the
Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition
must be filed with the Clerk of the Court, 231 W. Lafayette, Detroit, Ml 48226, and a copy
served upon Assistant United States Attorney Gjon Juncaj, 211 W. Fort Street, Suite
2001, Detroit, Ml 48226. The ancillary petition shall be signed by the petitioner under
penalty of perjury and shall set forth the nature and extent of the petitioner's right, title or
interest in the forfeited property, the time and circumstances of the petitioner's acquisition
of the right, title and interest in the forfeited property and any additional facts supporting
the petitioner's claim and the relief sought, pursuant to 21 U.S.C. § 853(n).

Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://(www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
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you must file your petition for remission in writing by sending it to Assistant United States
Attorney Gjon Juncaj, 211 W. Fort Street, Suite 2001, Detroit, MI 48226. This website
provides answers to frequently asked questions (FAQs) about filing a petition for

remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
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Advertisement Certification Report

 

between December 11, 2019 and January 09, 2020. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system’s daily
check that verifies that the advertisement was available each day.

U.S. v. D-3 Phanideep Karnati

Court Case No: 19-CR-20026
For Asset ID(s): See Attached Advertisement Copy

Calendar Day Appeared on the was Available during Advertisement
Count Web Site Calendar Day existed on Web Site

1 12/11/2019 24.0 Verified

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Additional log information is available and kept in the archives for 15 years after the asset has been disposed.

 
